

Matter of Rigler (2023 NY Slip Op 00472)





Matter of Rigler


2023 NY Slip Op 00472


Decided on February 2, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 2, 2023

PM-14-23
[*1]In the Matter of Douglas V. Rigler, an Attorney. (Attorney Registration No. 1733302.)

Calendar Date:January 30, 2023

Before:Garry, P.J., Aarons, Pritzker, Fisher and McShan, JJ.

Douglas V. Rigler, Bethesda, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Douglas V. Rigler was admitted to practice by this Court in 1981 and lists a business address in Bethesda, Maryland with the Office of Court Administration. Rigler now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Rigler's application.
Upon reading Rigler's affidavit sworn to December 12, 2022 and filed December 15, 2022, and upon reading the January 24, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Rigler is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Aarons, Pritzker, Fisher and McShan, JJ., concur.
ORDERED that Douglas V. Rigler's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Douglas V. Rigler's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Douglas V. Rigler is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Rigler is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Douglas V. Rigler shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








